: Case 1:18-cv-00719-CCR Document 23-4 Filed 05/28/19 Page1of6

Strike Force Daily Report

Commanding Officer: Chief Brinkworth

Date: 08/31/2015 . CL] Blue Wheel
Location: C and E # of Arres
‘Author: David E Wilcox

Completed By: © Housing @ Strike Force

OFFICER

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Acquino/Mcduffie |1 _—=SSs—s foo = fog
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Intelligence/Information:

Arrested mm

found to be driving eg
Chrysler..........reported stolen out of Olean, NY

e

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GYC- 7” a.

lessee house used to supple weed a

"you got to catch me".

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...did run into

seeaee bragged to officers about having
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Strike Force Daily Report

Commanding Officer: Chief Kevin Brinkworth

ate: 08/30/2015 . (] Blue Wheel
Location: # of Arres
Author: Michael P Quinn

Completed By: © Housing _@ Strike Force

OFFICER

B Pitts/S Culver

Eo

TOTALS

Intelligence/Information: - Due to NYSPIN & DMV being down for the majority
of our shift our enforcement abilities were greatly dimished.

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- Conducted checkpoints at Busti/Pennsylvania,
Massachusetts/W Utica/15th, Massachusetts/ Shields, Auburn/Hoyt &
Maryland/7th.

- On the orders of our Chief who was contacted i
a: C District we provided a presence at a large block party at Sperry Park
(Sherman - Krettner, Peckham - Paderewski) that was attended by approximately
400-500 people that featured a DJ & a basketball tournament. Multiple gang

members were in attendance but there were no reported acts of violence other than
minor scuffles.

- Assisted the Housing Unit in patroling the Perry Days
event in the Perry Projects.

_ Aggressively patrolled the problem areas on the West

Side that f B District emalied us particularly the i
areas.
- Narcotics activity at a

- Marijuana sales a
RR i:ectty across from Markt) is

being used as a hangout for gangs.

- Spoke to citizens at
about what they say has been a string of burglaries in the area.

a :.: of offi:
currently staying at the City Mission after eeing here he said

people were trying to shoot him.

ho were upset

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Strike Force Daily Report

Commanding Officer: Chief Kevin Brinkworth

ate: 08/29/2015 L] Blue Wheel
# of Arres

(Location:
‘Author: Michael P Quinn
Completed By: © Housing @ Strike Force

POST OFFICER _Imp Cash Gun Tag ~ co \

TOTALS 7 0.00 1 Tio )~—St~*é«*dC 92

Intelligence/Information: - Conducted checkpoints at Hampshire/Grant,
Parkdale/Berkshire & Grant/Forest.
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- Arrested an individual with a kilo of coccaine & a
loaded Smith & Wesson caliber handgun on a V&T stop at
This investigation started with

bout an individual with a gun & a kilo of
ollowed the
in from Edson St until it got off the I-190 onto Amherst St. The vehicle was
‘stopped for V&T violations on Arthur St. K-9 Unit was called & the _ hit on a

bag that contained the firearm & coccaine. Narcotics Detective ested
the drugs & they tested positive for coccaine.

- Developed intel at a checkpoint bout
- fraudeuntly allowing individuals with unregistered & uninspected motor
vehicles to "rent" dealer plates. Took the plates to the DMV office on Dingens St
& met with their investigators.

- iii. house next to the store is selling

pills, crack coccaine & marijuana.

- Investigated prostitution activity at a

- Heroin sales at the i a a

- Prostitution occurring in the garage apartment at a

- Home invasion/Shooting i

